                           UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF IOWA


 InRe:                                             Bankruptcy No:
 VeroBlue Farms USA, Inc.                          18-01297

 Debtor(s).                                        Chapter 11

 VeroBlue Farms USA, Inc.                          Adversary No. 19-09015

 Plaintiff(s).

 vs.

 Cassels Brock & Blackwell LLP

 Defendant( s).


                 CASSELS' FIRST SET OF INTERROGATORIES TO DEBTORS



TO:     The Debtors/Plaintiffs VeroBiue Farms USA, Inc. VBF Operations, Inc. VBF Transport,
        Inc., VBF IP, Inc. and Iowa's First, Inc. by and through their attorneys, Dan Childers,
        Elderkin & Pirnie, 316 Second Street SE, Suite 124, P.O. Box 1968, Cedar Rapids, IA
        52401 and Robert Lang, Thompson Coburn LLP, 55 East Monroe Street, 37th Floor,
        Chicago, IL 60603

PLEASE TAKE NOTICE that pursuant to Rule 7033 of the Rules of Bankruptcy Procedure and

Rule 33 F.R.Civ.P., Defendant Cassels Brock & Blackwell LLP ("Cassels") requests

Debtors/Plaintiffs VeroBiue Farms USA, Inc. VBF Operations, Inc. VBF Transport, Inc., VBF IP,

Inc. and Iowa's First, Inc. ("Debtors") to answer under oath the following interrogatories within

thirty (30) days of service thereof. These interrogatories are to be deemed continuing so as to

require supplemental answers if Debtors obtains additional information between the time answers

are served and the time of trial.

        The following interrogatories are to be construed in light of the following instructions and

definitions:



                                                                           EXHIBIT__l_
                                           DEFINITIONS

          Unless conclusively indicated by the context of a request, the following definitions are to

be applicable to all requests for the production contained herein:

    (A)        "Document" means any written, printed, typed, recorded or graphic matter, however

produced, reproduced or stored, including, but not limited to, letters, e-mails, faxes, text messages,

instant messages, mp3 files, pdf files, memoranda, agreements, contracts, telegrams, microfilm,

data stored on magnetic tape or disk, reports, booklets, sales literature, bills of lading, invoices,

statements of account, purchase orders, test reports, sketches, designs, drawings, blueprints, notes,

charts, specification sheets, photographs, notebooks, recordings or transcripts of telephone

conversations, appointment books, diaries, etc., in the possession of and/or under the control of

Debtors, their agents or their representatives or known by debtors, their agents or their

representatives to exist, and all copies thereof by whatever means made.

    (B)        "Identify," when used in reference to an individual person, means to state:

                i)        his or her full name;

                ii)       his or her present or last known address;

                iii)      his or her present or last known telephone number;

                iv)       his or her present or last known business affiliation; and

                v)        his or her present or last known position with such business affiliation.

    (C)       "Identify," when used in reference to a business entity (e.g., corporation, partnership,

joint venture, or sole partnership) means to state:

                i)        its full name;
                   ii)           its present or last known business address;

                   iii)          its present or last known mailing address;

                   iv)           its present or last known telephone number; and

                  v)             its principals.

    (D)          "Identify," when used in reference to a conversation, conference or meeting, means to

state:

                   i)            the date and time thereof;

                  ii)            the location thereof;

                  iii)           the identity of all persons participating or attending;

                  iv)            the identity of all documents recording, summarizing, or otherwise arising

                                   from said conversation, conference, or meeting in accordance with the

                                   definitions above;

                  v)              the method of communication utilized (e.g., telephone, in-person

                                   communications, e-mails, faxes, text messages, instant messages or other

                                   means), or if the method of communication was by telephone, specify

                                   the caller and the person called, and

                  vi)            a verbatim or close-to verbatim account of who said what to whom.

    (E)         "Identify," when used in reference to a document, means to state in a manner suitable

for use as a description in a request for production of document or in a subpoena duces tecum:

          i)            the type of document (e.g., the types listed in Paragraph A above);

          ii)            its date, if any;

          iii)           its originator or author, if any;

          iv)            its addresses, if any;
          v)     its present or last known location; and

          vi)    the person or persons present having custody or control over it.

        (F)     "Debtors," when used herein shall mean Plaintiffs VeroBlue Farms USA, Inc. VBF

Operations, Inc. VBF Transport, Inc., VBF IP, Inc. and Iowa's First, Inc.

        (G)      "Cassels," when used herein shall mean Cassels Brock & Blackwell LLP.

        (H)      "Complaint," when used herein shall mean Debtor's Adversary Complaint against

Cassels Brock & Blackwell LLP, Chapter II Case No. 18-0I297, Adversary Case No. I9-090I5

                                      INTERROGATORIES

INTERROGATORY NO.1:                    Set forth the facts upon which Debtors allege that this Court
has personal jurisdiction over Cassels; identify the individuals with personal knowledge of each
fact identified in answer to this Interrogatory; and identify the documents evidencing each fact
identified in answer to this Interrogatory.

INTERROGATORY NO. 2:                  With respect to the allegation in Paragraph 4 of the
Complaint, that "Cassels has made a contract with Debtors to be performed in whole or in part in
Iowa", identify the facts upon which this allegation is based, including but not limited to the terms
of the contract and the acts under the contract performed by Cassels in Iowa; identify the
individuals with personal knowledge of the facts identified in answer to this Interrogatory
including but not limited to the individuals on behalf of Cassels who entered into the "contract"
and the individuals on behalf of Debtors who entered into the "contract"; and identify the
documents evidencing the facts identified in answer to this Interrogatory including but not limited
to the documents setting forth the terms of the contract.

INTERROGATORY NO.3:                     With respect to the allegation in Paragraph 4 of the
Complaint, that "Cassels committed tortious acts in part in Iowa and against Iowa residents",
identify each tortious act upon which this allegation is based, including but not limited to, the date
of the act and a description of the act; identify each individual having personal knowledge of the
tortious acts identified in answer to this Interrogatory, including but not limited to the actor or
actors; and identify each document evidencing the tortious acts identified in answer to this
Interrogatory.

INTERROGATORY NO. 4:                   Set forth the facts upon which Debtors allege that venue of
this proceeding is proper in this district; identify the individuals with personal knowledge of the
facts identified in answer to this Interrogatory; and identify the documents evidencing the facts
identified in answer to this Interrogatory.

INTERROGATORY NO.5:                    Set forth the facts upon which Debtors allege that there is a
clear attorney-client relationship between Cassels and VeroBlue Farms USA, Inc. as set forth in
Paragraph 13 of the Complaint; identify the individuals with personal knowledge of the facts
identified in answer to this Interrogatory; and identify the documents evidencing the facts
identified in answer to this Interrogatory, including without limitation any and all representation
agreements.

INTERROGATORY NO.6:                    Set forth the facts upon which Debtors allege that there is a
clear attorney-client relationship between Cassels and VBF Operations, Inc. as set forth in
Paragraph 13 of the Complaint; identify the individuals with personal knowledge of the facts
identified in answer to this Interrogatory; and identify the documents evidencing the facts
identified in answer to this Interrogatory, including without limitation any and all representation
agreements.

INTERROGATORY NO.7:                    Set forth the facts upon which Debtors allege that there is a
clear attorney-client relationship between Cassels and VBF Transport, Inc. as set forth in
Paragraph 13 of the Complaint; identify the individuals with personal knowledge of the facts
identified in answer to this Interrogatory; and identify the documents evidencing the facts
identified in answer to this Interrogatory, including without limitation any and all representation
agreements.

INTERROGATORY NO.8:                    Set forth the facts upon which Debtors allege that there is a
clear attorney-client relationship between Cassels and VBF IP, Inc. as set forth in Paragraph 13 of
the Complaint; identify the individuals with personal knowledge of the facts identified in answer
to this Interrogatory; and identify the documents evidencing the facts identified in answer to this
Interrogatory, including without limitation any and all representation agreements.

INTERROGATORY NO.9:                    Set forth the facts upon which Debtors allege that there is a
clear attorney-client relationship between Cassels and Iowa's First, Inc. as set forth in Paragraph
13 of the Complaint; identify the individuals with personal knowledge of the facts identifted in
answer to this Interrogatory; and identify the documents evidencing the facts identified in answer
to this Interrogatory, including without limitation any and all representation agreements.

INTERROGATORY NO. 10:                  With respect to the allegation in Paragraph 16 of the
Complaint that "Debtors have recently discovered emails", identify when and how Debtors
discovered the emails, including the identity of the computers or servers on which the emails were
stored; identify each individual involved in the discovery of the emails; and identify all documents
evidencing the discovery of the emails (not the emails themselves).

INTERROGATORY NO. 11:                  With respect to the allegation in Paragraph 51 of the
Complaint, that Debtors request the Court to order Cassels "to turn over its entire file(s), however
maintained, whether paper, electric or otherwise maintained by the firm in conjunction [sic] all
matters on which it represented [sic] of the Debtors and all affiliates", identify each matter on
which Debtors allege Cassels represented VeroBlue Farms USA, Inc.; identify the individuals
acting on behalf of VeroBlue Farms USA, Inc. involved in the matter; identify the individuals
acting on behalf of Cassels involved in the matter; and identify all documents evidencing that
Cassels had undertaken representation ofVeroBlue Farms USA, Inc. with respect to each matter
identified in answer to this Interrogatory.
INTERROGATORY NO. 12:                 With respect to the allegation in Paragraph 51 of the
Complaint, that Debtors request the Court to order Cassels "to turn over its entire file(s), however
maintained, whether paper, electric or otherwise maintained by the firm in conjunction [sic] all
matters on which it represented [sic] of the Debtors and all affiliates", identify each matter on
which Debtors allege Cassels represented VBF Operations, Inc.; identify the individuals acting on
behalf ofVBF Operations, Inc. involved in the matter; identify the individuals acting on behalf of
Cassels involved in the matter; and identify all documents evidencing that Cassels had undertaken
representation of VBF Operations, Inc. with respect to each matter identified in answer to this
Interrogatory.

INTERROGATORY NO. 13:                 With respect to the allegation in Paragraph 51 of the
Complaint, that Debtors request the Court to order Cassels "to turn over its entire file(s), however
maintained, whether paper, electric or otherwise maintained by the firm in conjunction [sic] all
matters on which it represented [sic] of the Debtors and all affiliates", identify each matter on
which Debtors allege Cassels represented VBF Transport, Inc.; identify the individuals acting on
behalf of VBF Transport, Inc. involved in the matter; identifY the individuals acting on behalf of
Cassels involved in the matter; and identify all documents evidencing that Cassels had undertaken
representation of VBF Transport, Inc. with respect to each matter identified in answer to this
Interrogatory.

INTERROGATORY NO. 14:                 With respect to the allegation in Paragraph 51 of the
Complaint, that Debtors request the Court to order Cassels "to turn over its entire file(s), however
maintained, whether paper, electric or otherwise maintained by the firm in conjunction [sic] all
matters on which it represented [sic] of the Debtors and all affiliates", identify each matter on
which Debtors allege Cassels represented VBF IP, Inc.; identify the individuals acting on behalf
ofVBF IP, Inc. involved in the matter; identify the individuals acting on behalf of Cassels involved
in the matter; and identify all documents evidencing that Cassels had undertaken representation of
VBF IP, Inc. with respect to each matter identified in answer to this Interrogatory.

INTERROGATORY NO. 15:                 With respect to the allegation in Paragraph 51 of the
Complaint, that Debtors request the Court to order Cassels "to turn over its entire file(s), however
maintained, whether paper, electric or otherwise maintained by the firm in conjunction [sic] all
matters on which it represented [sic] of the Debtors and all affiliates", identify each matter on
which Debtors allege Cassels represented Iowa's First, Inc.; identify the individuals acting on
behalf of Iowa's First, Inc. involved in the matter; identify the individuals acting on behalf of
Cassels involved in the matter; and identify all documents evidencing that Cassels had undertaken
representation of Iowa's First, Inc. with respect to each matter identified in answer to this
Interrogatory.

INTERROGATORY NO. 16:                Set forth the facts upon which Debtors allege in Paragraphs
53 and 54 of their Complaint that "Debtors have ownership and other possessory rights in the
Client Files" in which Cassels has exercised dominion or control; identify the individuals with
personal knowledge of the facts identified in answer to this Interrogatory; and identify the
documents evidencing the facts identified in answer to this Interrogatory.
INTERROGATORY NO. 17:                 Set forth the facts upon which Debtors allege they have
suffered compensatory damages as a direct and proximate result of Cassels conversion of the
Client Files as alleged in Paragraph 55 of the Complaint; identify the individuals with personal
knowledge of the facts identified in answer to this Interrogatory; and identify the documents
evidencing the facts identified in answer to this Interrogatory.

INTERROGATORY NO. 18:                 Set forth the facts upon which Debtors allege they are
entitled to punitive damages as alleged in Paragraph 56 of the Complaint; identify the individuals
with personal knowledge of the facts identified in answer to this Interrogatory; and identify the
documents evidencing the facts identified in answer to this Interrogatory.

                                             SCHWARTZ LAW FIRM
Dated: August 16, 2019
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